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                     EXHIBIT A
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                       PERSONAL PROPERTY APPRAISAL

                                 MJ CAPITAL FUNDING LLC
                                    2754 W Atlantic Blvd
                                 Pompano Beach, FL 33069

                                                                          Case # : 21-61644-CIV-SiNGHL
                                                                          To: Cori Lopez-Castro Receiver
                                                                          Date; August 17,2021
                                                                          AuctioN Liquidation Value (ALV)


ITEM     QTY                                  DESCRIPTION                                                       ALV
                FRONT RECEPTWAREA
  1        2    Armchairs White leather chrome frame
  2        1    Love Seat qrey leather chrome legs
  3        3    Vases White and black                                                                   .....
  4        1    Stand Glass and chrome
  5        1    Area Ruq 8'x1 O'approx multi-color
                "office 1
  6        1           Desk Grey mica                                                 ...............
   7       1           Armchair on wheels grey and chrome
   8       1           Desk Lamp                                                                    .......
   9       2           Side Chairs white and chrome
  10       1           Plant
  11       1           Printer HP MFP 428 FDN on stand Imagenet # FMEUP
                       OFFICE 2
  12          1        Table Desk white mica
  13          1        Armchair on wheels grey and chrome
  14          2        Side Chairs white and chrome
  15          1        Table Lamp
  16          1        File Cabinet 2 drawer white
  17          1        Printer HP MFP 4218 FDN on stand Imagenet# 11WY1
                       OFFICE 3
  18          1        Table Desk white mica
  19          1        Armchair on wheels grey and chrome
  20          2        Side Chairs white and chrome
  21          1        Table Lamp
  22          1        File Cabinet 2 drawer white
  22          1        Printer HP MFP 428 FDN on stand Imagenet NA
                       OFFICE 4
  2.3         1        Table Desk white mica
  24    ......1....... Armchair oh wheels grey arfd chrome
  25          2        Side Chairs white and chrome
  26          1        Table Lamp
  27          1        File Cabinet 2 drawer white
  28          1        Printer HP MFP 428 FDN on stand Imagenet # M2PPW
                       OFFICE 5
  29          1        Table Desk white mica
  30          1        Armchair on wheels gfey and chrome
                                           Page 1
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                      PERSONAL PROPERTY APPRAISAL

                                    MJ CAPITAL FUNDING LLC
                                       2754 W Atlantic Blvd
                                    Pompano Beach, FL 33069

                                                                                Case # : 21-61644-CIV-SlNGHL
                                                                                To: Cori Lopez-Castro Receiver
                                                                                Date: August 17,2021
                                                                                AuctioN Liquidation Value (ALV)

  ITEr                                 ------ “-wscraPTfow                         ^    ^
                OFFICE 5 (CONTI
   31      2    Side Chairs white and chrome
   32      1    Table Lamp
   33      1    File Cabinet 2 drawer white                                                    .....
   34      1    Printer FIP MFP 428 FDN on stand Imagenet NA
                REAR LOUNGE
   35      4    Armchairs Red fabric soiled
   36      2    Vases Red                                                ..........
   37      1    Television 50" Samsung
   38      3    Prints                                                        .............
   39      1    Area Rug 4'x 16’approx grey
                CONFERENCE ROOM
   40      1    Table Glass top grey steel base                                           ........
   41      9    Armchairs on wheels                                         ..........
   42      1    Club Chair white leather chrome frame
   43      1    Area Rug grey shag 8'x10' approx
   44      1    Vase Red 3' tall                                                            ......
   45      1    Drop Safe Honeywell damaged
   46      1    White Board 4'x8' approx
   47      1    Stand Metal                                             ...... ..
   48      2    Plants Artificial                                                ...........
   49      1    Television 60" LG on wall                                                            .... .
   50      1    Lot Decor small items balance of room estimate
                BACK ROOM
   51       3   Section White shelving                                         ................
   52       1   Lot Office supplies, water, paper, janitorial supplies etc contents
                 of room estimate
   53      11    Polycom Telephones thruout space                                    ......
   64       3   “Monitors Assorted poof condition
   55       1    f=ile Cabinet white small damaged                              .............
   56       1    Time Clock Amano TCX-85
   57       2    Retevis Waikie Talkies
   58       1    Refrigerator 2 door Premium Leveila
   59       1    Microwave Hamilton Beach                               ................
   60       1    Dump Box for paper
   61       1    Printer Corv Machine HP paqewide color MFP E72650 Imaginet
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                               MJ CAPITAL FUNDING LLC
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                               Pompano Beach, FL 33069

                                                                   Case # : 21-61644-CIV-SiNGHL
                                                                   To; Cori Lopez-Castro Receiver
                                                                   Date: August 17,2021
                                                                   AuctioN Liquidation Value (ALV)

 ITEM     QTY                              DESCRIPTION                                      ALV
                BACK ROOM fCONT)
  61       1    Consulting TKXA5
  62       1    Panel with 12 electronic units on wall by Aitronix estimate
  63       1    Waste Can
  64       1    Money Counted new in box Cassida 5520UVMG
  65       1    Table White
  66       1    Armchair White and chrome
  67       1    Area Rug in package
  68       5    Keyboards
                HALL
  69       1    Hall Table mica and chrome
  70       1    Lot Bric-A-Brac etc
                BACK OFFICE
  71       1    L-Desk glass top with cabinet
  72       1    High Back chair grey and chrome on wheels
  73       1    Printer HP Pagewide MFP P57750DW Imaginet # A5TH8
  74       2    Side Armchairs grey and chrome
  75       1    Geode Mineral
  76       1    Table Lamp
  77       1    Print on wall 3'x5'
  78       1    Cabinet 3 door white metal 4'x5'
  79       1    Sentry Safe box open
  80       1    Area Rug grey 4'x8' approx
  81       2    Tote Bins plastic with contents
  82       1    Lot Bric-A-Brac decor office items balance of room estimate
                roFFiCr'"                       ^
  83       1    Table Desk white
  84       1    Armchair Grey and chrome
  85       2    Side Armchairs grey and chrome
  86       1    Paper Shredder Nuova
  87       1    Keyboard
  88       1    Printer HP Pagewide MFP P57750DW
  89       1    File Cabinet small white
  90       1    Storage Cabinet 2 door white mica
  91       1    Area Rug 4'x8' approx
                                     Page 3
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                               MJ CAPITAL FUNDING LLC
                                  2754 W Atlantic Blvd
                               Pompano Beach, FL 33069

                                                              Case # : 21-61644-CIV-SlNGHL
                                                              To: Cori Lopez-Castro Receiver
                                                              Date: August 17,2021
                                                              AuctioN Liquidation Value (ALV)

 ITEM     QTY                                DESCRIPTION                               ALV
                OFFICE
   92      1    Table Desk white
   93      1    Armchair Grey and chrome
   94      2    Side Armchairs grey and chrome
   95      1    Storage Cabinet white
   96      1    File Cabinet small white
   97      1    Printer HP Laserjet Pro M425 FDW Imaginet # A8T5A
   98      1    Area Rug 4'x6' grey approx
   99      1    Keyboard
  100      2    Boxes with shirts "Capital FUNDING"                               ^
  101      1    Vase Black
                FRONT RECEPTION
  102      2    Reception Containers grey mica
  103      2    Armchairs White and chrome on wheels
  104      1    Cabinet 2 door glass
  105      1    Printer HP57750 DW Imagenet # MR 256
  106      1    Fan Honeywell
  107      1    Printer Kf887 Imagenet # MY28 FDW
  108      1    Cre'denza White 3 door 6ft glass top
  109      1    Air Purifier Veilako
  110      1    Coffee Maker Keurig
  111      1    Television 50" Samsung
  112      2    Club Chairs grey leather
  113      1    Sofa White leather
  114      1    Stand Glass and chrome
  115      1    Area Rug grey 4'x6' approx
  116      4    Plants Assorted
  117      1    r:nnip>r     rjnnr Haipir nn stand


  118      1    Conference Table 8 ft glass top metal base
  109      8    Chairs Red chrome base on wheels
  120      1    Area Rug 8'x12'
  121      1    Television 72" Samsung approx
  122      1    White Board 7'x3' approx
  123      1    Waste Can
                                    Page 4
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                    PERSONAL PROPERTY APPRAISAL


                              MJ CAPITAL FUNDING LLC
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                                                                         Case # : 21-61644~CIV-SINGHL
                                                                         To; Cori Lopez-Castro Receiver
                                                                         Date: August 17,2021
                                                                         AuctioN Liquidation Value (ALV)

 ITEM     QTY                                DESCRIPTION                                          ALV
                CONFERENCE ROOM (CONT)
  124      1    Bin Full paper
  125      1    Money Counter Tacklife
  126      1    Polycom Trio 8500
  127      1    Lot Office supplies etc
                LOUNGE
  128      2    Club Chairs grey cloth
  129      1    Side Chairs white
  130      1    Television 42" Samsung
  131      1    Plant
  132      1    Painting "World"
                BACK ROOM
  133      1    Table Desk white
  134      1    Side Chair white
  135      1    Armchair Grey
  136      1    Safe Box Honeywell with key
  137      1    Money Counter Tacklife
  138      1    Printer HPM428RDN Imagenet # A3AKC
  139      1    Bin Mica
  40       1    Plant
  141      3    Wall Art
  142      1    Cabinet 2 door glass
                2ND FLOOR/SUITE 243
  143      2    Tables 8 ft glass top metal base
  44       14   Chairs Grey Web Back on wheels
  145       1   White Board damaged
  146       1   Labe! Machine Bixolon
  147      1    Machine Aobio printer
  148      1    Xfinity Speaker XFSETUP-F081
  149      1    Money Counter Deteck
  150      1    Shredder Insignia
  151      1    Desk L grey mica
  152      1    Waste Can
  153      1    Printer HP MFP477DW new in box
  154      1    Printer HP MFP477DW used
                                   Page 5
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                              Pompano Beach, FL 33069

                                                                 Case # : 21-61644-ClV-SINGHL
                                                                 To: Cori Lopez-Castro Receiver
                                                                 Date: August 17,2021
                                                                 AuctioN Liquidation Value (ALV)

 ITEM     QTY                              DESCRIPTION                                    ALV
                2ND FLOOR / SUITE 243 (CONT)
  155      2    Love Seats white leather
  156      1    Television 84" LG on wall
  157      1    Lateral File 2 drawer grey mica
  158      2    Love Seats white leather
  159      1    Floor Lamp 5 head stainless steel modern
  160      1    Lot Janitorial supplies etc
                SIDE ROOM
  161       1   Table Glass top metal base 6 ft
  162       1   Table White 4 ft
  163       1   Television 48" LG
  64       11   Bottles Assorted liquors etc estimate
  165       1   Shredder Feliowes 92LS
  166       1   Air Conditioner portable GE
  167       1   Lateral File cabinet grey 3 drawer
  168       1   Cabinet 4 glass doors wall mounted
  169       1   Lateral File cabinet grey 2 drawers mica
  170       1   Printer HP477DW
  171       1   Terrarium with turtles removed
  172       1   Cooler Small
  173       1   Microwave Red
  174       1   Waiter Cooler hot and cold
  175       1   Wail Art 3 pcs 2'x2' "Mountain"
  176       1   Folding Table 5 ft
            1   Coffee Table white mica metal base
  178       1   Lot Small items decor balance of room estimate
                SUITE 251
  179      1    L Desk white mica
  180      1    Armchair Black and chrome oh wheels
  181      2    Side Armchairs black and grey
  182      1    Love Seat white
  183      1    Lateral File cabinet 2 drawer mica
  184      1    Money Counter Deteck
  185      1    Refrigerator Black small
  186      1    Television 60" Samsung
                                        Page 6
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                                   MJ CAPITAL FUNDING LLC
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                                   Pompano Beach, FL 33069

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                                                                     To; Cori Lopez-Castro Receiver
                                                                     Date: August 17,2021
                                                                     AuctioN Liquidation Value (ALV)

     ITEM     QTY                                DESCRIPTION                                  ALV
                    SUITE 251 (CONTI
      187      1    Waste Can white
      188      1    Lot Small items balance of room estimate
      189      1    Sectional Sofa grey fabric
      190      1    Coffee Table glass and chrome
      191      1    Area Rug shag 5'x8' approx
      192      1    Refrigerator 1 door Hisense
      193      1    Money Counter ANR/CCI
      194      1    Artwork 3 pcs "Ballons"
      195      1    Table Glass top 8 ft metal base
      196      7    Armchairs on wheels grey fabric
      197      1    Football Game table kick
      198      1    Painting Heart of Mine Universe signed 43"x58"
      199      1    Water Cooler bottle
      200      1    Fan Tower Lasko
      201      1    Sound Bar Sonos with speakers
                    SUITE 237
      202      2    Desks Glass top metal legs
      203      1    High Back chair
      204      1    File Cabinet 4 drawer black
‘     205      1    Money Counter Umia
      206      1    Keyboard
      207      1    Epson XP430 Printer
      208      1    Coffee Maker Keurig 1 cup
                    SUITE 275
      209      1    Desk 60" double pedestal grey mica
      210      2    High Back chair grey chrome base on wheels
      21 1     2    Arm Side chairs (matching)
      212      1    Lateral File cabinet 2 drawer grey mica
      213      1    Printer Color LaserJet HP 477F
      214      1    Printer Epson RR~600W
      215      1    Love Seat with side table poor
      216      1    Cooler Newair glass door
      217      1    Fan Tower Oventie
      218      2    Prints Small
                                            Page 7
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                                  2754 W Atlantic Blvd
                               Pompano Beach, FL 33069

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                                                               AuctioN Liquidation Value (ALV)


 ITEM     QTY                                DESCRIPTION                                ALV
                SUITE 275 (CONT)
  219      1    Plants
  220      1    Television Philips 60"
  221      1    Plastic Lion head planter
  222      1    Shredder Royal ISIOMX
  223      1    Lot Small items office supplies etc estimate
                SUITE 272
  224      1    Reception Desk mica
  225      1    Armchair on wheels black
  226      1    Love Seat grey
  227      1    Armchair White and chrome
  228      1    Area Rug 4'x6' black and grey
  229      1    Cabinet 2 door glass top grey doors
  230      1    Printer HP Laserjey Pro 9025
  231      1    Plant
  232      1    Television LG 48"
  233      1    Lot Small items etc
                TOCKWFlCE^
  234      1    L~Desk grey mica
  235      1    Side Chair white
  236      1    Armchair on wheels black and chrome
  237      1    Lateral File cabinet 3 drawer grey metal
  238      1    Photo "London"
  239      2    Money Counter Tacklife
  240      1    Print on wall
                C^iFEWENCFWOff
  241       1   Table Glass top metal base
  242      8    Chairs Grey
  243       1   T elevision 'BCT'S^sung
  244       1   Shredder Pro-Gear
  245       1   Cooler 1 door glass Haier 30"
  246       1   Water Cooler Prime hot and cold
  247       1   stand Mica white
  248       1   Area Rug 8'xlO' black and grey
  249       1   White Board 4'x5'
                                     Page 8
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                                MJ CAPITAL FUNDING LLC
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                                Pompano Beach, FL 33069

                                                             Case # : 21-61644-ClV-SINGHL
                                                             To: Cori Lopez-Castro Receiver
                                                             Date: August 17,2021
                                                             AuctioN Liquidation Value (ALV)

  ITEM    QTY                                DESCRIPTION                             ALV
                CONFERENCE ROOM (CONT)
  250       1   Print "Monopoly" 3'x5'
                OFFICE
  251       1   L-Desk grey mica
  252       1   Armchair on wheels grey
  253       2   Side Chairs white
  254       1   Printer HP MFD 477DW on stand
  255       1   Money Counter Casida 6600UV
  256       1   File Cabinet black 3 drawer
  257       1   P Touch Cube plus
  258       1   Print "Bull"
                SIDE CLOSET
  259       2   File Cabinets 4 drawer black letter size
                MAIN ROOM
  260       2   Love Seats grey
  261       1   Coffee Table glass top
  262       1   Coffee Table oval glass
  263       1   Area Rug 8'x10' grey
  264       1   Print "Success"
  265       1   Print "American Success"
  266       1   Reception Desk grey mica
  267       1   Armchair on wheels black
  268       1   Printer HP Office Jet 3830
  269       1   Water Cooler bottle H&C
  270       1   Aquarium on stand (no fish)
  271       1   Print "Find Balance"
  272       1   Print "Donald Duck and Money" 5'x2'
  273       1   Lot Coffee candy soda etc estimate
  274       1   Teievisioh 50" Samsung
  275       5   Vase Assorted
                SIDE OFFICE
  276      1    L"Desk grey mica
  277      1    High Back chair on wheels black and chrome
  278      2    Armchairs Black chrome
  279      1    Television 50" Samsung
                                    Page 9
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                               MJ CAPITAL FUNDING LLC
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                               Pompano Beach, FL 33069

                                                                 Case # : 21-61644-CiV-SINGHL
                                                                 To: Cori Lopez-Castro Receiver
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                                                                 AuctioN Liquidation Value (ALV)


          QTY                                DESCRIPTION                                          ALV
 ITEM
                SIDE OFFICE tCONT)
  280      1    Money Counter Tacklife                                                  ......
  281      1    Printer HP 915                                                     ........
  282      2    Crystals                                                            .....
  283      1    Pen in box Gemstone                                      ............... .
  284      1    Print "Seascape"
  285      1    Calculator Canon                                              ........ .
                OFFICE
  286       1   L-Desk Grey mica                                            ............ . „
  287       1   High Back chair black and chrome on wheels
  288       2   Armchairs black and chrome
  289       1   Cooler Small on stand Aneken
  290       1   Money Counter Sovereing
  291       1   Printer HP 8035'e
  292       1   Shredder Basic
  293       1   Coffee Maker
  294       1   Stand with plant
  295       1   television 50" Samsung
  296       5   Prints on wall assorted
  297       1   Lot Small items decor balance of room estimate

  298       1   L-Desk with side cabinets grey mica glass top
  299       1   Printer Epson ES-580\A/
  300       1   Printer HP MP4779 FDW
  301       1   Armchair grey and chrome on wheels
  302       1   Monitor Curved 30" Samsung with keyboard
  303       2   Armchair Side grey and chrome
   303      1    File Cabinet 4 door black                                              .......
  305       1    Cfedenza Glass top 4 door
  306       1    Money Counter Cassida
  307       1    television 72" Samsung
  308       1    Shredder Pen Gen
  309       1    Cooler on stand Artie King
  310       1    Fan Tower Honeywell
  311       1    Lot Small items etc balance of room estimate
                                      Page 10                                                       .......
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                                                           AuctioN Liquidation Value (ALV)

  iTEM    QTY                               DESCRIPTION                            ALV
                OFFICE
   312      1   L-Desk grey mica
   313      1   Fiigh Back armchair black
   314      2   Armchairs black and chrome
   315      1   Bench Black
    36      1   Television 60" Samsung
   317      1   Shredder Pen Gen
   318      1   Plant
   319      3   Baseballs on stand
   320      1   Lot Bric-A-Brac balance of room estimate
                ■OFFICE                             ^                ^
  321       1   L-Desk grey mica
  322       1   Desk 60" grey mica
  323       1   Desk 48" grey mica
  324       1   Credenza Grey mica
  325      15   Model Autos assorted
  326       1   Decanter Machine gun on stand
  327      2    Animal Figurines multi color
  328       1   Television 60" Samsung
  329       1   Love Seat black
   33       1   Area rug grey
  331      8    Armchair Grey and chrome on wheels
  332      2    Armchair Black and chrome on wheels
  333      2    Lateral File cabinets 2 drawer damaged
  334      1    Money Counter Pro Minico
  335      1    Shredder Sentinel
  336      1    Printer HP 9015
  337       1   ConiGr 30" glass rinor Fmfirsnn
  338       1   Print "Lion Head"
  339       2   Crystals
  340       1   Lot Small items balance of room estimate
                MJTTE"2T2
  341       1   Love Seat grey
  342       2   Club Chairs (matching)
  343       1   Coffee Table grey mica 30"
  344       1   Area Rug grey 4x8
                                    Page 11
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                                                           To; Cori Lopez-Castro Receiver
                                                           Date: August 17,2021
                                                           AuctioN Liquidation Value (ALV)

                                            DESCRIPTION                             ALV
                SUIT 212 (CONTI
  345           Vases
  346           Waste Can
                       OFFICE
  347           Desks Mica
  348           Chairs Orange fabric base grey
  349           Armchairs Black
  350           File Cabinets 4 drawer black
  351           File Cabinets 2 drawer black
  352           Cooler Flaier 1 glass door 30"
  353           Printer HP M4554 DW
  354           Printer HP 477 DW
  355           Waste Can
  356           Plant with lamp
                EXECUTIVE OFFICE
  357           Desk Grey mica large
  358           Armchair Black on wheel
  359           Arm Side chairs orange
  360           Sofa Grey leather
  361           Credenza Grey mic 6 ft
  362           Postage Machine Neopost In-900
  363           Printer HP 477 DW
  364           Waste Can stainless steel
  365           Fan Tower Honeywell
  366           Bucket Chair orange leather
  367           Coffee Table mica 36"
  368           Area Rug 5'x8' black and grey
  369           Television 86" LG Nanocel
  370           Painting 5'x4' modern
  371           Small Fan
  372           Lot Balance of room small items estimate
                OGMTMVELOFFfCE
  373           Sectional Sofa black leather
  374           Club Chair black leather
  375           Area Rug grey 4x6
                                    Page 12
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                                                            To: Cori Lopez-Castro Receiver
                                                            Date: August 17,2021
                                                            AuctioN Liquidation Value (ALV)

  ITEM    QTY                             DESCRIPTION                               ALV
                 DGM TRAVEL OFFICE (CONT)
   376      1    Waste Can
   377      1    Reception Desk grey mica
   378      1    Lateral File cabinet 2 drawer mica
   379      1    Printer HP
    38      2    Armchair Black and chrome on wheels
   381      1    Printer HP 477 DW
   382      2    Club Chairs black leather
   383      2    Side Tables mica
   384      1    Microwave Small black
                “OFFiCl                        ^                      ^
  385       1    L-Desk mica
  386       2    Armchairs Mica
  387       1    High Back armchair on wheels black
  388       1    Sofa Grey fabric
  389       1    Rug Rulled up brown
  390       1    Money Couner KS
  391       1    Monitor 49" curved with keyboard Samsung
  392       1    Cabinet 2 door on legs brown
  393       1    Television 50" Samsung
  394       1    Sofa Black leather
  395       1    White Board
                 SOITE 243
  396       1    L-Desk grey mica damaged
  397       1    High Back armchair on wheels black
  398       3    Side Armchairs black chrome base
  399       1    Cooler 1 door small Frigidaire (new)
  400       1   Television 50" Samsung with Bose speaker
  401       1   Printer HP Pro 9015
                OFFICE
  402       3   File Cabinets 4 drawer black
  403       1   Sofa Grey
  404       1   L-Desk with cabinet grey mica
  405       1   High Back armchair on wheels black
  406       2   Armchairs Black and chrome
                                    Page 13
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                     PERSONAL PROPERTY APPRAISAL

                               MJ CAPITAL FUNDING LLC
                                  2754 W Atlantic Blvd
                               Pompano Beach, FL 33069

                                                                       Case # : 21-61644-CiV-SINGHL
                                                                       To: Cori Lopez-Castro Receiver
                                                                       Date: August 17,2021
                                                                       AuctioN Liquidation Value (ALV)

  ITEM    QTY                              DESCRIPTION                                          ALV
                OFFICE i CONTI
  407       1   Money Counter Tacklife
  408       1   Printer HP 9015
  409       1   Monitor 48" curved Samsung
  410       1   Cabinet 4 door glass and mica
  411       1   Television LG Manocell 60"
  412       1   Painting 5'x2'
  413       1   Dream Machine Unifi
                SUITE 208/OFFICE
  414       1   Monitor LG
  415       1   Desk /Table mica
  416       1   High Back armchair on wheels black
  417       1   Armchair Grey
  418      12   Polycom Telephones
  419       1   L"Desk grey mica
  420      2    Armchairs Grey
  421       1   High Back chair on wheels black
  422      2    Monitors on stand LG
  423       1   Print in box
  424       1   Refrigerator 1 door Premium Levelia
  425       1   Massage Chair black Cozzio electric with Sonos Speakers
  426      2    Crystals Large
  427       1   Large Pillow chair foam
                OFFICE
  428      1    L-Desk grey mica
  429      1    High Back chair on wheels black
  430      2    Armchairs Grey
  431      1    Wall Cabinet with glaoe dooro
  432      2    Monitors on stand LG
                MAM ROOfW
  433      1    Table 5 ft adjustable
  434      2    Monitors on stand LG 27"
  435      8    Armchairs Grey on wheels
  436      1    Conference Table 8 ft brown mica
  437      1    Television 72" Aluretek
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                                Pompano Beach, FL 33069

                                                                    Case # : 21-61644-CfV-SINGHL
                                                                    To; Cori Lopez-Castro Receiver
                                                                    Date: August 17,2021
                                                                    AuctioN Liquidation Value (ALV)

  ITEM    QTY                                 DESCRIPTION                                   ALV
                 MAIN ROOM CONT)
  438       1    Polycom Trio 8500
  439       1    Money Counter Deteck
  440       1    Shredder Bexis
  441       1    Printer HP 477 DW
  442       1    Cabinet Grey mica glass doors
  443       1    Waste Can mine stars
  444       1    Water Cooler Ultimate H&L
  445       1    Cabinet Low white mica
                 SUITE 202
  446       3    Armchairs Grey sleigh base chrome
  447       1    Cocktail Table 36" grey mica
  448       1    Area Rug 4'x8' poor condition
  449       1    Vase 3'
  450       1    Plant in pot
  451       1    L“Desk glass top
  452       1    Armchair Grey on wheels
  453       1    Television 50" Samsung with sound bar Bose
  454       1    Printer HP 477 DW
  455       1    Waste Can white
                WFICF
   456      1    L-Desk glass top grey mica
   457      1    High Back chair on wheels black
   458      1    Shredder Boxis
   459      1    table Glass top small
   460      1    Fan
   461      1    Box Clothes assorted
   AG2      2    Armchairs Grey sleigh base
   463      1    FiIenaBihet 4 drawer black
   464      1    television 60" Samsung
   465      1    White Board 2'x3'
   466      1    Lot Small items ddcor balance of room estimate
                 OFFICE
   467      1    Refrigerator French doors stainless steel Samsung digital inverter
                 smart data
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                                  Pompano Beach, FL 33069

                                                            Case # : 21-61644-ClV-SINGHL
                                                            To: Cori Lopez-Castro Receiver
                                                            Date: August 17,2021
                                                            AuctioN Liquidation Value (ALV)

  ITEM    QTY                               DESCRIPTION                             ALV
                OFFICE fCONT)
  468       1   Table Glass top
  469       1   Microwave Maqic Chef stainless steel
  470       1   Ninja Coffee Maker
  471       1   Cabinet 2 door white glass
  472       1   Printer HP 477 DW
  473       1   Desk Grey mica
  474       1   Armchair Black an chrome on wheels
  475       1   L-Desk glass top mica
  476       1   High Back armchair black chrome base
  477       1   Money Counter Tacklife
  478       1   Fan
  479       1   Armchair Sleigh base grey
  480       1   Desk Lamp
  481       2   Folding Chairs
  482       1   Lot Small items balance of room estimate




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